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                         DECLARATION OF MICHELLE BRANE

I, Michelle Brané, make the following declaration based on my personal knowledge and
declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is
true and correct:

1.     I am a non-resident migration and human rights fellow at Cornell Law and the
       Executive Director of Together and Free. I hold a J.D. from Georgetown
       University Law Center. I am over the age of 18 and am competent to testify
       regarding the matters described below.

2.     I have more than 25 years of experience working on immigration and human rights
       issues. Prior to my work at Together and Free, I served for three years as the Executive
       Director for the Department of Homeland Security’s Family Reunification Task Force,
       and then as DHS’s Ombudsman for Immigration Detention. Before that, I was the
       Director of the Migrant Rights and Justice program at the Women’s Refugee Commission
       for almost 15 years, where I worked on projects related to immigration custody, family
       detention and separation, and access to asylum at the U.S. border.

3.     I have authored and overseen numerous landmark reports on migration and asylum
       issues, including Locking Up Family Values, on family detention; Halfway Home, on
       unaccompanied migrant children; Forced From Home: The Lost Boys and Girls of
       Central America; Prison for Survivors: The Detention of Women Seeking Asylum in the
       United States; Detained or Deported: What About My Children?, a guide for detained
       and deported immigrant and undocumented parents; and Betraying Family Values: How
       Immigration Policy at the United States Border is Separating Families.

4.     I have testified before Congress and the Inter-American Commission for Human Rights,
       and I present regularly as an expert at conferences, briefings, and professional trainings,
       including before the Human Rights Council and the United Nations High Commission for
       Refugees in Geneva.

5.     Together and Free is a nonprofit organization that provides emergency and ongoing
       support services to asylum seeking families impacted by federal immigration policies.

6.     My staff and I have received outreach from families of individuals removed to El
       Salvador by the United States government, including the families of 5 Venezuelan
       citizens believed to have been removed to El Salvador on Sunday, March 30, 2025.

7.     I first learned of the March 30 flight when it was announced on social media by Secretary
       of State Marco Rubio on Monday, March 31, 2025. On Monday March 31, I was
       contacted by an attorney who believed her client was on the flight based on a family
       member who had seen him in a video posted by Secretary of State Rubio. Over the next
       week, four additional families reached out to Together and Free with concerns that a
       family member had been removed on the March 30th flight.



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8.     On April 2, 2025, an article in the Orinoco Tribune entitled “Seven More Venezuelans
       Migrants Abducted in El Salvador” included the names of 7 Venezuelan nationals who
       were removed on the March 30, flight to El Salvador. All 5 of the names that had been
       provided to us by family members appeared on that list.

9.     The first of these cases involves Victor Andres Ortega Burbano, a 24-year-old
       Venezuelan citizen with muscular dystrophy which affects his right arm. His wife
       reported to Together and Free that he arrived in the United States in 2022. We are not
       aware of any criminal record. Victor applied for Temporary Protective Status (TPS) on
       December 28, 2023 and was granted this status on June 20, 2024.

10.    Records reflect that an immigration judge ordered Victor removed to Venezuela on
       October 22, 2024.

11.    Victor was released from detention following his removal order. His family told us that
       on March 11, 2025, while checking his mailbox at his home at 11:30 a.m., he was
       surrounded by Immigration and Customs Enforcement (ICE) agents and arrested. His
       family was able to track his detention locations thereafter through the on-line ICE
       detainee tracker and by occasionally speaking to him by phone. He was first taken to and
       detained at a facility in Alvarado, Texas. The following day he was removed to the El
       Valle ICE detention facility in Raymondville, Texas, where he was detained for a little
       over two weeks.

12.    On Friday, March 28, at about 11 p.m., his wife spoke to him while he was still detained
       in El Valle, Texas. He told her that ICE agents had informed him that he was to be
       deported to Venezuela. He then called her on Sunday, March 30, 2025, indicating that he
       was now detained at Guantanamo. He told her that he did not know where he was to be
       taken next, or if he would be kept at Guantanamo. That was the last contact that his wife
       had with him. On March 31, 2025, his family learned that he was on the March 30 flight
       to El Salvador through a social media post.

13.    Together and Free is currently investigating the cases of an additional 3 Venezuelan men,
       all of whom we believe had final removal orders to Venezuela and we have reason to
       suspect were removed to Guantanamo and then El Salvador on the evening of March 30,
       2025.

I declare under penalty of perjury that the above information is true and correct to the
best of my knowledge.

Executed this 8th day of April 2025 at Ithaca, NY.



                                                             Michelle Brané




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